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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Chicago Truck Drivers, Helpers & Warehouse         :       Civil Action
Workers Union (Independent) Pension Fund,          :
by and through its Board of Trustees, Bernard      :
Sherlock, John Rule, Michael Ramirez, Joseph       :
Barton, R.J. Emerick, and Timothy Ryan,            :
6500 W 65th Street, Suite 203,                     :       No. 1:19-cv-2230
Chicago, IL 60638,                                 :
                                                   :
                      Plaintiffs,                  :
                                                   :
                      v.                           :
                                                   :
Vertical Holdings, LLC, also d/b/a                 :
Premier Employer Services,                         :
1508 S. Batavia Ave., 3rd Floor,                   :
Geneva, IL 60134,                                  :
                                                   :
                      Defendant.                   :


                                        COMPLAINT

                                      INTRODUCTION

       Plaintiffs Chicago Truck Drivers, Helpers & Warehouse Workers (Independent) Pension

Fund, and Bernard Sherlock, John Rule, Michael Ramirez, Joseph Barton, R.J. Emerick and

Timothy Ryan, as Trustees of Chicago Truck Drivers, Helpers & Warehouse Workers

(Independent) Pension Fund, through their undersigned counsel, bring this action against

Defendant Vertical Holdings, LLC, also d/b/a Premier Employer Services pursuant to the Labor

Management Relations Act of 1947, as amended (“LMRA”) and the Employee Retirement Income

Security Act of 1974, as amended, (“ERISA”). Plaintiffs seek an order (1) declaring Defendant is

the successor of PTO Services, Inc. (“PTO”); (2) directing Defendant, as PTO’s successor, to pay

the balance owed to the Plaintiff Pension Fund on PTO’s withdrawal liability; and (3) directing
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Defendant to pay all delinquent amounts, interest, and liquidated damages currently owed to the

Pension Fund, and that may become due and owing during the pendency of this litigation, plus

attorneys’ fees and costs.

                                      JURISDICTION AND VENUE

       1.        Plaintiffs invoke the jurisdiction of this Court pursuant to Section 301(a) of the

LMRA, 29 U.S.C. § 185(a); Section 4301(c) of ERISA, 29 U.S.C. § 1451(c); and Section 28

U.S.C. § 1331.

       2.        Plaintiffs’ business office is located in Cook County. Therefore, jurisdiction in the

Eastern Division of the U.S. District Court for the Northern District of Illinois is appropriate.

       3.        Venue is proper in this District pursuant to Section 301(a) of the LMRA, 29 U.S.C.

§ 185(a); Section 4301(d) of ERISA, 29 U.S.C. § 1451(d); and 28 U.S.C. § 1391.

                                              PARTIES

       4.        Plaintiff Chicago Truck Drivers, Helpers & Warehouse Workers (Independent)

Pension Fund (“Pension Fund”) is a jointly-administered, multiemployer employee pension fund

within the meaning of Section 302(c)(5) of the LMRA, 29 U.S.C. § 186(c)(5), and Sections 3(2)

and 3(37)(A) of ERISA, 29 U.S.C. §§ 1002(2) and (37)(A). The Pension Fund’s business address

is 6500 W 65th Street, Suite 203, Chicago, IL 60638.

       5.        The Pension Fund is administered by a joint labor-management Board of Trustees

in accordance with Section 302(c)(5) of the LMRA, 29 U.S.C. § 186(c)(5), and exists for the

exclusive purpose of providing retirement benefits to its participants and beneficiaries and

defraying the reasonable expenses of administering the Pension Fund’s plan of benefits, all in

accordance with Section 404 of ERISA, 29 U.S.C. § 1104. The Pension Fund receives



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contributions and withdrawal liability payments from employers that are or were parties to

collective bargaining agreements with the International Brotherhood of Teamsters Local Union

No. 710 (the “Union”).

       6.      Plaintiffs Bernard Sherlock, John Rule, Michael Ramirez, Joseph Barton, E.J.

Emerick and Timothy Ryan are Trustees of the Pension Fund pursuant to the Pension Fund’s

Restated Agreement and Declaration of Trust (“Pension Fund Trust Agreement”). See Exhibit A,

Pension Fund Trust Agreement. Sherlock, Rule, Ramirez, Barton, Emerick and Ryan are

fiduciaries of the Pension Fund as such term is defined in Section 3(21)(A) of ERISA, 29 U.S.C.

§ 1002(21)(A). Sherlock, Rule, Ramirez, Barton, Emerick and Ryan’s business address as Trustees

of the Pension Fund is 6500 W 65th Street, Suite 203, Chicago, IL 60638.

       7.      Defendant Vertical Holdings, LLC (“Vertical Holdings”) is an employer within the

meaning of Section 301(a) of the LMRA, 29 U.S.C. § 185(a); and Section 3(5) of ERISA, 29

U.S.C. § 1002(5). Vertical Holdings, LLC, also has been known or has done business as Premier

Employer Services (“Premier”). Vertical Holdings, LLC’s principal place of business is 1508 S.

Batavia Ave., 3rd Floor, Geneva, IL 60134.

                                    FACTUAL BACKGROUND

             Defendant’s Predecessor PTO Withdraws from the Pension Fund
                              and Negotiates a Settlement

       8.      Prior to April 1, 2017, PTO Services, Inc. (“PTO”) provided truck driver leasing

services in the Chicagoland area.

       9.      PTO employed drivers represented by the Union pursuant to collective bargaining

agreements negotiated with the Union.




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       10.     Pursuant to those collective bargaining agreements, and prior to the close of the

Pension Fund’s Plan Year Ending March 31, 2009, PTO contributed to the Pension Fund.

       11.     During the Plan Year Ending March 31, 2009 PTO completely withdrew from the

Pension Fund, as such action is defined in Section 4203 of ERISA, 29 U.S.C. § 1383.

       12.     On or about May 5, 2011, the Pension Fund assessed PTO with complete

withdrawal liability in the amount of $3,723,004.93.

       13.     On or about February 10, 2012, the Pension Fund and PTO agreed to a settlement,

whereby PTO would pay the Pension Fund $10,000 per month until it discharged its complete

withdrawal liability, plus interest. See Exhibit B, PTO Settlement Agreement, p. 2. ¶ 1.

       14.     PTO waived all objections to its withdrawal liability assessment as part of the

Settlement Agreement. Id., ¶¶ 2-3.

       15.     PTO paid monthly installment payments pursuant to the PTO Settlement

Agreement until on or about March 24, 2017.

       16.     During this period, PTO paid approximately $630,000 to the Pension Fund.

       17.     At all relevant times until shortly after April 1, 2017, William Carpenter

(“Carpenter”), President of PTO, served as a Trustee of the Pension Fund.

                      PTO Dissolves, and Defendant Vertical Holdings
                     Assumes Its Customers, Operations, and Employees

       18.     On or about February 24, 2017, Carpenter wrote to PTO’s customers and stated that

PTO would be closing. See Exhibit C, PTO Closing Announcement.

       19.     Also on or about February 24, 2017, PTO managers, including but not necessarily

limited to PTO Human Resources Director Tony Langfeld (“Langfeld”) and PTO Operations




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Director Tom Wisla (“Wisla), formed Vertical Holdings, LLC, also d/b/a Premier Employer

Services (“Defendant”).

         20.   Wisla immediately began using PTO e-mail addresses to solicit PTO’s customers

to enter into truck driver leasing agreements with Defendant.

         21.   Defendant was so successful in assuming PTO’s customers and operations that it

hired substantially all of PTO’s truck drivers, recognized the Union as the representative of these

employees, and negotiated one or more collective bargaining agreements with the Union for these

employees.

         22.   Upon information and belief, Defendant had notice of PTO’s withdrawal liability

obligations to the Pension Fund.

         23.   Defendant has not, however, made any withdrawal liability payments pursuant to

the PTO Settlement Agreement, or otherwise.

         24.   PTO voluntarily dissolved itself under Illinois corporate law on or about April 17,

2017.

         25.   Carpenter also filed for personal bankruptcy under Chapter 7 of the U.S.

Bankruptcy Code on or about April 17, 2017.

         26.   In his bankruptcy filings, Carpenter claimed he was 100% owner of PTO, and that,

among other debts, he owed $12,000,000 to the Internal Revenue Service.

         27.   Further efforts to collect withdrawal liability from PTO or Carpenter, pursuant to

the PTO Settlement Agreement or otherwise, were futile.




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               Defendant Vertical Holdings Fails To Pay Withdrawal Liability

       28.     Upon investigation, on May 1, 2018, the Pension Fund made a withdrawal liability

demand upon Defendant as PTO’s successor. See Exhibit D, May 1, 2018 Withdrawal Liability

Demand Letter.

       29.     Specifically, the Pension Fund demanded that Defendant, as PTO’s successor,

resume the $10,000 monthly withdrawal liability payments required by the PTO Settlement

Agreement.

       30.     In its demand on Defendant, the Pension Fund explained Defendant’s rights to

make a request for review and to file for arbitration if Defendant disputed the Pension Fund’s

withdrawal liability demand. Exhibit D.

       31.     On May 8, 2018, Defendant, through Tony Langfeld, who was employed by PTO

as its Human Resources Director, responded that Defendant was not a successor to PTO. See

Exhibit E, Defendant’s May 8, 2018 Response to Demand Letter.

       32.     Defendant has not made any withdrawal liability payments to the Pension Fund,

pursuant to the PTO Settlement Agreement or otherwise.

       33.     Defendant did not request review of the Pension Fund’s withdrawal liability

demand within the meaning of Section 4219(b)(2) of ERISA, 29 U.S.C. § 1399(b)(2).

       34.     Defendant did not demand arbitration of this matter within the time period specified

in Section 4221(a)(1) of ERISA, 29 U.S.C. § 1401(a)(1), and is now precluded from doing so.

       35.     On December 17, 2018, the Pension Fund wrote to Defendant to inform it that it

was in default of its withdrawal liability obligations, and that it had sixty (60) days to cure its




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default pursuant to Section 4219(c)(5) of ERISA, 29 U.S.C. § 1399(c)(5). See Exhibit F, December

17, 2018 Notice of Default.

         36.    Defendant has not responded to the Pension Fund’s notice of default.

         37.    The Pension Fund is still owed $3,093,004.93 in withdrawal liability, plus interest.

         38.    As a result of its failure to respond, Defendant has defaulted within the meaning of

Section 4219(c)(5) of ERISA, 29 U.S.C. § 4219(c)(5), 29 U.S.C. § 1399(c)(5), and 29 C.F.R. §

4219.31(b), and the entire amount of the remaining liability, payable as a lump sum, is due and

owing.

         39.    The Pension Fund is in “critical and declining status” under Section 305(b)(6) of

ERISA, 29 U.S.C. § 1085(b)(6), and as such is projected to become insolvent during the Plan Year

Ending March 31, 2026.

                                         COUNT I
          Defendant Vertical Holdings, LLC, also d/b/a/ Premier Employer Services
                           Is the Successor of PTO Services, Inc.

         40.    Plaintiffs incorporate by reference paragraphs 1 through 39 above as though fully

set forth herein.

         41.    There is substantial continuity of operations between PTO and Defendant,

including, but not limited to, substantially similar business purpose, management, customers, and

employees.

         42.    Defendant, which is owned and operated by PTO former managers Tony Langfeld

and Tom Wisla, had notice of PTO’s withdrawal liability obligations to Plaintiff Pension Fund at

or before the time Defendant assumed PTO’s business operations.




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        43.       As the successor of PTO, Defendant is jointly and severally liable for PTO’s unpaid

withdrawal liability to Plaintiff Pension Fund.

        WHEREFORE, Plaintiffs pray that the Court enter judgment in favor of Plaintiffs and:

        (a)       Declare that Defendant Vertical Holdings, LLC, also d/b/a Premier Employer

Services is the successor of PTO Services, Inc.; and

        (b)       Order Defendant to pay all remaining withdrawal liability owed to Plaintiff Pension

Fund by PTO, plus interest, liquidated damages, and attorney’s fees and costs; and

        (c)       Order such other relief that the Court deems just and appropriate.

                                        COUNT II
         Defendant Vertical Holdings, LLC, also d/b/a Premier Employer Services’
                            Violation of Section 515 of ERISA

        44.       Plaintiffs incorporate by reference paragraphs 1 through 43 above as though fully

set forth herein.

        45.       Defendant Vertical Holdings, LLC also d/b/a Premier Employer Services is in

default within the meaning of Section 4219(c)(5) of ERISA, 29 U.S.C. § 1399(c)(5), and 29 C.F.R.

§ 4219.31(b), and the entire amount of remaining withdrawal liability is now due and owing.

        46.       Section 4301(b) of ERISA, 29 U.S.C. § 1451(b), provides that the failure to make

withdrawal liability payments when due shall be treated as a contribution delinquency under

Section 515 of ERISA, 29 U.S.C. § 1145.

        47.       By the foregoing conduct, Defendant has violated Section 515 of ERISA, 29 U.S.C.

§ 1145, and is liable under Section 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2), for the remaining

withdrawal liability owed to the Pension Fund, plus interest, liquidated damages, and attorneys’

fees and costs.


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       WHEREFORE, Plaintiffs pray that the Court enter judgment in favor of the Plaintiffs and:

       (a)     Order Defendant to pay all remaining withdrawal liability owed to Plaintiff Pension

Fund, plus interest, liquidated damages, and attorney’s fees and costs; and

       (b)     Order Defendant to pay any additional amounts that may be found due and owing

to Plaintiff Pension Fund during the pendency of this litigation, together with interest, liquidated

damages, and attorney’s fees and costs as mandated by ERISA; and

       (c)     Order such other relief that the Court deems just and appropriate.

                                              Respectfully submitted,

                                              WILLIG, WILLIAMS & DAVIDSON

                                              _ s/ Linda M. Martin___________
                                              LINDA M. MARTIN, ESQUIRE (Lead Counsel)
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                                              Lead Counsel for Plaintiffs Chicago Truck Drivers,
                                              Helpers & Warehouse Workers (Independent)
                                              Pension Fund, and its Board of Trustees,
                                              Bernard Sherlock, John Rule, Michael Ramirez,
                                              Joseph Barton, E.J. Emerick and Timothy Ryan


Dated: April 2, 2019




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                                CERTIFICATE OF SERVICE

       I, Linda M. Martin, Esquire, hereby certify that I have this 2nd day of April 2019 forwarded

a copy of the Complaint and exhibits in the foregoing matter to the persons listed below, by

certified mail, postage prepaid, United States Postal Service:


                              R. Alexander Acosta, Secretary
                              U.S. Department of Labor
                              Office of Public Affairs
                              200 Constitution Ave., N.W.
                              Room S-1032
                              Washington, DC 20210

                              Steven T. Mnuchin, Secretary
                              United States Department of Treasury
                              1500 Pennsylvania Avenue, N.W.
                              Washington, D.C. 20220

                              W. Thomas Reeder, Director
                              Pension Benefit Guaranty Corporation
                              1200 K Street, NW
                              Washington, DC 20005


                                                             ____s/ Linda M. Martin______
                                                             LINDA M. MARTIN, ESQUIRE

Dated: April 2, 2019




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